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                             UNITED STATES DISTRICT COURT
                              NORTHERN DISTRICT OF OHIO
                                   EASTERN DIVISION

 DIGITAL MEDIA SOLUTIONS, LLC,                     ) CASE NO. 1:19-cv-145
                                                   )
                            Plaintiff,             ) JUDGE DAN AARON POLSTER
                                                   )
          v.                                       ) MAGISTRATE JUDGE
                                                   ) THOMAS M. PARKER
 SOUTH UNIVERSITY OF OHIO,                         )
 LLC, et. al.,                                     )
                                                   )
                            Defendants.            )

              FORTY-SECOND MONTHLY REPORT OF THE RECEIVER
                       PURSUANT TO LOCAL RULE 66.1

         Pursuant to this Court’s December 11, 2019 Order, the Receiver submits his

Report comprised of the following:

         1.          Receivership Inventory of Assets as of May 31, 2023 (Exhibit A);

         2.          Receivership Cash Receipts and Disbursements Summary for the

                     Period Commencing May 1, 2023 and Ended May 31, 2023 (Exhibit B);

         3.          Actual Weekly Cash Flow for the Period Commencing January 1, 2023,

                     and Ending May 31, 2023 (Exhibit C); and

         4.          Receipts and Disbursements for the Period Commencing May 1, 2023

                     and Ending May 31, 2023 (Exhibit D).




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Dated: June 22, 2023                      Respectfully submitted,

                                           /s/ Mary K. Whitmer
                                          Mary K. Whitmer (0018213)
                                          James W. Ehrman (0011006)
                                          Robert M. Stefancin (0047184)
                                          WHITMER & EHRMAN LLC
                                          2344 Canal Road, Suite 401
                                          Cleveland, Ohio 44113-2535
                                          Telephone: (216) 771-5056
                                          Telecopier: (216) 771-2450
                                          Email: mkw@WEadvocate.net
                                                 jwe@WEadvocate.net
                                                 rms@WEadvocate.net

                                          Counsel for Mark E. Dottore, Receiver




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